         Case 1:23-cv-03146-LGS Document 52 Filed 06/14/23 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK
                                  MANHATTAN DIVISION

                                CASE NO.: 1:23-cv-03146-LGS

 ZURU INC.,

                Plaintiff,

 v.

 THE INDIVIDUALS, PARTNERSHIPS,
 AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON
 SCHEDULE "A",

                Defendant.


              NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT 74

       Plaintiff ZURU INC., by and through its undersigned counsel, and pursuant to Fed. R.

Civ. P. 41(a)(1)(A)(i), hereby dismisses the instant action without prejudice as against the

following Defendant AnythingExpress (Defendant No. 74 on Schedule “A”).

Dated: June 14, 2023                         Respectfully submitted,

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Case 1:23-cv-03146-LGS Document 52 Filed 06/14/23 Page 2 of 2




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